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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         ) 2:12-CR-132-JAD-(CWH)
                                                       )
11 WILLIAM BONAPARTE,                                  )
                                                       )
12                         Defendant.                  )
13                              PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on February 5, 2014, defendant WILLIAM BONAPARTE pled guilty to

15 Counts One, Two, Three, Five, and Seven of a Ten-Count Criminal Indictment charging him in Count

16 One with Conspiracy to Interfere with Commerce by Robbery in violation of Title 18, United States

17 Code, Section 1951; in Count Two with Brandishing of a Firearm in Furtherance of a Crime of

18 Violence in violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and (iii) and 2; and in

19 Counts Three, Five, and Seven with Interference with Commerce by Robbery in violation of Title 18,

20 United States Code, Sections 1951 and 2. Criminal Indictment, ECF No. 1; Change of Plea, ECF No.

21 138; Plea Agreement, ECF No. 140.

22           This Court finds defendant WILLIAM BONAPARTE agreed to the forfeiture of the property

23 set forth in the Plea Agreement and the Forfeiture Allegation of the Criminal Indictment. Criminal

24 Indictment, ECF No. 1; Change of Plea, ECF No. 138; Plea Agreement, ECF No. 140.

25           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

26 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture
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 1 Allegation of the Criminal Indictment and the offenses to which defendant WILLIAM BONAPARTE

 2 pled guilty.

 3           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 4 924(d)(1) and Title 28, United States Code, Section 2461(c):

 5                  1. a black Springfield, model XD9, 9mm handgun, bearing serial number XD228554;

 6                      and

 7                  2. any and all ammunition

 8 (all of which constitutes “property”).

 9           This Court finds the United States of America is now entitled to, and should, reduce the

10 aforementioned property to the possession of the United States of America.

11           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

12 United States of America should seize the aforementioned property.

13           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

14 WILLIAM BONAPARTE in the aforementioned property is forfeited and is vested in the United

15 States of America and shall be safely held by the United States of America until further order of the

16 Court.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

18 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

19 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

20 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

21 name and contact information for the government attorney to be served with the petition, pursuant to

22 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

24 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

25 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

26 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

                                                         2
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 1 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

 2 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 3 petition and the relief sought.

 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 5 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

 6 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

 7 after the first day of the publication on the official internet government forfeiture site,

 8 www.forfeiture.gov.

 9          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

10 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

11 following address at the time of filing:

12                  Daniel D. Hollingsworth
                    Assistant United States Attorney
13                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
14                  Las Vegas, Nevada 89101.
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

16 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

17 following publication of notice of seizure and intent to administratively forfeit the above-described

18 property.

19          DATED this ___ day
                        10th   of of
                             day  February, 2014.
                                     February, 2014.

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                                                    UNITED STATES DISTRICT JUDGE
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